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                  EXHIBIT 5
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    450 South Orange Avenue, Suite 800
    Orlando, FL 32801


    For data post 8/23/2024, please go to ER code?10385058.


    ?


    ?




        Section 6


Employer Information for Outback Steakhouse

Source: Outback Steakhouse




                                                                                    y.
        Employee Information




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                                                                           U
  Employee Name                                                                                            DREW A DESBORDES
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                                                                    on
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  Date of Birth
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  SSN                                                                                                              XXX XX
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                                             or




  Employee Address                                                                                      , DULUTH , GA ,
                                          ep
                                         R
                                     al




  Employee Phone Number
                                   ci
                                 ffi
                              no
                            U




         Employer Information



  Employer Name                                                                                            Outback Steakhouse


  Employment Status                                                                                        No Longer Employed


  Information Current as of                                                                                         03/02/2018


  Employer Code                                                                                                           13779


  Employer Address                                                      2202 N. Westshore Blvd , Suite 500 , Tampa , FL , 33607
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   Job Title                                                                                           DTOGO


   Total Time with Employer


   FEIN                                                                                            593549811


   Division                                                                                                 1


   Work Location (Job Site)                       2202 NORTH WEST SHORE BLVD , SUITE 500 , TAMPA , FL , 33607


   Union Affiliation


   Rate of Pay                                                                                    $8.00 Hourly


   Average Hours per Pay Period                                                                         80.00




                                                                       y.
                                                                     nl
   Original Hire Date                                                                              07/27/2015



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   Most Recent Start Date                                                                          02/02/2018
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                                                       so
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   Date of Termination                                                                             02/21/2018
                                                     Pe
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                                                oy




   Reason for Termination
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                                       or




     Yearly Income Summary
                                     ep
                                    R
                                 al
                               ci
                              ffi




                               2018                    2015
                          no
                         U




  Base Pay                    $405.52                 $318.53


  Overtime                     $0.00                   $0.00


  Commission                   $0.00                   $0.00


  Bonuses                      $0.00                   $0.00


  Other                       $180.58                 $76.75


  Holiday


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         Pay Period Withholding Detail - 02/25/2018


  Federal Tax                                                                                      $15.50


  State Tax                                                                                         $8.04


  Local Tax                                                                                         $0.00


  Social Security                                                                                  $28.33


  Medicare                                                                                          $6.63


  Retirement/401k                                                                                   $0.00


  Cafeteria Plan                                                                                    $0.00


  Garnishments                                                                                      $0.00




                                                                     y.
                                                                   nl
                                                                 O
  Other Withholding                                                                               $180.58
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       Pay Increase Information
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  Next Projected Date of Pay Increase
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                                        tE
                                       or




  Next Projected Amount of Pay Increase
                                     ep
                                    R




  Last Date of Pay Increase
                                 al
                               ci
                              ffi
                         no




  Last Amount of Pay Increase
                        U




       Income & Deductions


  Average Hours Per Pay Period                                                                      80.00


  Pay Cycle                                                                                      Bi-weekly


  Payroll Deduction for All Insurance Coverage




         Workers' Compensation


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  Receiving Workers' Compensation                                                                                                              No


  Carrier


  Date of Inquiry


  Date of Award


  Claim Number


  Claim Pending                                                                                                                                No




Employer Level Disclaimer
 VOI: This is a general message that appears on all verifications. Garnishment requests should be sent to:
       OSI Restaurant Services, Inc
       2202 N West Shore Blvd
       Ste 500




                                                                                              y.
       Tampa, FL 33607




                                                                                            nl
                                                                                          O
                                                                                     se
       Other income may include: Tips, Retro, Severance, Vacation
                                                                                    U
       Please note: The hire dates contained within these verifications reflect the Most Recent Hire Date for the associate. It does not provide
                                                                                 l
       historical dates of employment if there was a service break over 90 days.
                                                                              na
                                                                            so



       SPECIAL INFORMATION ABOUT THIS EMPLOYER: If the message "Data Not Provided" is displayed in the Federal Employer ID Number
                                                                          r
                                                                       Pe




       (FEIN) field for the verification above, please use XX-XXXXXXX, which this employer has identified as the corporate level FEIN associated
       with their account. The Work Number is in the process of adding individual recored level information to the FEIN field in the verification.
                                                                   ee




       If there is a number displayed in the FEIN field from the above verification and it differs from the one appearing in this disclaimer
                                                               oy




       message, please use the number from the FEIN field in the verification, as it is employee-specific.
                                                             pl
                                                          m
                                                       tE




       Please note employees must work a minimum of 1560 hours during an annual timeframe of October to October in order to be eligible
       for Employer sponsored benefits. If an employee does not meet this requirement they are not eligible for our program.
                                                 or
                                               ep




       Please note: Due to a Payroll system conversion that took place on 9/29/2012 YTD totals from the existing payroll system needed to be
                                              R




       added to the new one. This resulted in a Pay Period detail entry for all associates showing the total wages paid from 1/1/2012 - 9/29
                                           al
                                         ci




       /2012. This should not be used in calculation for an employee′s earnings as they have already been accounted for in the YTD totals
                                       ffi




       reflected on the verification.
                                  no




 VOE: This is a general message that appears on all verifications. Garnishment requests should be sent to:
                                 U




       OSI Restaurant Services, Inc
       2202 N West Shore Blvd
       Ste 500
       Tampa, FL 33607

       Other income may include: Tips, Retro, Severance, Vacation
       Please note: The hire dates contained within these verifications reflect the Most Recent Hire Date for the associate. It does not provide
       historical dates of employment if there was a service break over 90 days.

       SPECIAL INFORMATION ABOUT THIS EMPLOYER: If the message "Data Not Provided" is displayed in the Federal Employer ID Number
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       If there is a number displayed in the FEIN field from the above verification and it differs from the one appearing in this disclaimer
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       Please note employees must work a minimum of 1560 hours during an annual timeframe of October to October in order to be eligible
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       added to the new one. This resulted in a Pay Period detail entry for all associates showing the total wages paid from 1/1/2012 - 9/29



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